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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE No: 18-cv-80086-MIDDLEBROOKS


   IN RE BITCONNECT SECURITIES LITIGATION,
   ____________________________________________/

                    ORDER DISMISSING COMPLAINT AND CLOSING CASE

             THIS CAUSE comes before the Court upon Plaintiffs’ Response to the Court’s Order to

   Show Cause. (DE 143).

             In an order striking Plaintiffs’ Second Amended Complaint, I stated:

               [I]n light of my dismissal of Defendant Arcaro and Maasen from the Second
              Amended Complaint, I hereby strike the remainder of that complaint. (DE 118;
              DE 133). For clarity of the record, I will require Plaintiffs to file a Third
              Amended Complaint by December 5, 2019. In drafting this Third Amended
              Complaint, Plaintiffs shall remove the dismissed defendants and the relevant
              allegations. Plaintiffs shall also bear in mind the reasons for my dismissal of
              Defendants Arcaro and Maasen. (See DE 133). To the extent Plaintiffs have
              intended to impose liability upon other Defendants for the same reasons as
              Arcaro and Maasen, Plaintiffs shall remove those Defendants (if any) from the
              Third Amended Complaint. Failure to do so will result in sua sponte dismissal
              of those Defendants.

   (DE 134 at 3). Upon review of the Third Amended Complaint (DE 137), it appeared that Plaintiffs

   failed to follow this instruction with respect to Defendants Trevor Brown, Ryan Hildreth, and

   Tanner Fox. As a result, I entered an Order to Show Cause why Defendants Brown, Hildreth, and

   Fox should not be dismissed. (DE 142). These Defendants are the only three that remain in this

   action.

             Plaintiffs have responded to the Order to Show Cause. (DE 143). In their response,

   Plaintiffs do not explain how the allegations regarding Defendants Brown, Hildreth, and Fox differ

   from the ones made in connection with Defendants Arcaro and Maasen. (See generally id.).

   Instead, Plaintiffs attempt to relitigate whether these facts sufficiently state claims under the
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   Securities Act. I have already rejected these arguments twice and will not substantively address

   them again. My previous orders granting Defendant Arcaro’s and Maasen’s Motions to Dismiss

   explain at length the reasoning as to why Plaintiffs’ claims against Defendants Brown, Hildreth,

   and Fox fail to state any actionable securities law violation. (DE 115, Order Granting Motion to

   Dismiss Amended Complaint); (DE 133, Order Granting Motion to Dismiss Second Amended

   Complaint). Therefore, for the reasons stated in my prior orders, Plaintiffs’ claims against

   Defendants Brown, Hildreth, and Fox are dismissed.1

          Because those Defendants are the only remaining defendants, it is ORDERED AND

   ADJUDGED that:

          1. Plaintiff’s Third Amended Complaint is DISMISSED WITH PREJUDICE.

          2. The Clerk of Court shall CLOSE THIS CASE and DENY any pending motion AS

              MOOT.

          SIGNED in Chambers in West Palm Beach, Florida, this 31st day of March, 2020.




                                                                 Donald M. Middlebrooks
                                                                 United States District Judge




   1
     It is worth adding that this lawsuit was originally filed over two years ago. (DE 1). And Plaintiffs
   have failed to actively pursue the claims against Defendants Brown, Hildreth, and Fox. For
   example, in August 2018, Plaintiffs moved for and subsequently obtained a Clerk’s Entry of
   Default as to Defendant Brown. (DE 71; DE 72). To date, however, Plaintiffs have not moved
   for final default judgment. Accordingly, Plaintiffs’ failure to prosecute their claims against the
   remaining Defendants is another reason why the claims against them should be dismissed. See
   Link v. Wabash R. Co., 370 U.S. 626, 630-31 (1962) (“The authority of a court to dismiss sua
   sponte for lack of prosecution has generally been considered an ‘inherent power,’ governed not by
   rule or statute but by the control necessarily vested in courts to manage their own affairs so as to
   achieve the orderly and expeditious disposition of cases.”).
                                                     2
